      Case 1:21-cr-00048-JRH-BKE Document 39 Filed 03/08/22 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION

UNITED STATES OF AMERICA                 )
                                         )
v.                                       ) CASE NO: 1:21-CR-48
                                         )
SAMMIE LEE SIAS                          )

                      MOTION FOR LEAVE OF ABSENCE

      COMES NOW, United States of America, by and through Tara M. Lyons, the

undersigned Assistant United States Attorney, and requests the Court grant her

leave of absence for the dates below:

             a)    May 30, 2022, through and including June 6, 2022, for the

                   purpose of out-of-district personal travel.

      Further, should this Honorable Court schedule a hearing during the above-

referenced dates, the Government respectfully requests permission to have another

Assistant United States Attorney handle the matter on behalf of the Government in

the absence of the undersigned Assistant United States Attorney.
     Case 1:21-cr-00048-JRH-BKE Document 39 Filed 03/08/22 Page 2 of 3




      WHEREFORE, the Government respectfully requests that this Honorable

Court GRANT its Motion for Leave of Absence for the above-stated dates.

      This 8th day of March, 2022.

                                     Respectfully submitted,

                                     DAVID H. ESTES
                                     UNITED STATES ATTORNEY

                                     s/ Tara M. Lyons
                                     Tara M. Lyons
                                     Assistant United States Attorney
                                     South Carolina Bar No. 16573
                                     United States Attorney’s Office
                                     Southern District of Georgia
                                     Post Office Box 2017
                                     Augusta, Georgia 30903
                                     T: (706) 826-4532
                                     tara.lyons@usdoj.gov
      Case 1:21-cr-00048-JRH-BKE Document 39 Filed 03/08/22 Page 3 of 3




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION

UNITED STATES OF AMERICA                  )
                                          )
 v.                                       ) CASE NO: 1:21-CR-48
                                          )
SAMMIE LEE SIAS                           )

                         CERTIFICATE OF SERVICE
                     ON MOTION FOR LEAVE OF ABSENCE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a result

of electronic filing in this Court.

       This 8th day of March, 2022.

                                        Respectfully submitted,

                                        DAVID H. ESTES
                                        UNITED STATES ATTORNEY

                                        s/ Tara M. Lyons
                                        Tara M. Lyons
                                        Assistant United States Attorney
                                        South Carolina Bar No. 16573
                                        United States Attorney’s Office
                                        Southern District of Georgia
                                        Post Office Box 2017
                                        Augusta, Georgia 30903
                                        T: (706) 826-4532
                                        tara.lyons@usdoj.gov
